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                              No. 24-6153

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE SIXTH CIRCUIT


                              Diego Pavia

                                        Plaintiff/Appellee

                                   v.


               National Collegiate Athletic Association


                                        Defendant/Appellant

          On Appeal from United States District Court for the
                    Middle District of Tennessee
                         Nashville Division


             DIEGO PAVIA’S APPELLEE APPENDIX

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Exhibit 1 - Copy of Diego Pavia PowerPoint Presentation admitted into
      evidence at the Preliminary Injunction Hearing as indicated by RE. 37
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                      CERTIFICATE OF COMPLIANCE
      I hereby certify:

      1.    The Appendix documents are properly part of the district court record

as evidenced by RE 37 – Exhibit List, Page ID# 1107.

      Dated: April 22, 2025



                                             s/Salvador M. Hernandez
                                             Salvador M. Hernandez




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                          CERTIFICATE OF SERVICE
      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Sixth Circuit by using the

appellate CM/ECF system on April 22, 2025. I certify that all participants in the case

are registered CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.



                                              /s/ Salvador M. Hernandez
                                              Salvador M. Hernandez




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